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IN THE UNITED STATES BANKRUPTCY COURT '
FOR THE DISTRICT OF I)ELAVVARE

 

In re: § Chapter ll
VER TECHNOLOGIES HOLDCO LLC, et al. ,1 § Case No. 18-10834 (KG)
Debtors. § (Jointly Administered)
§ Re: Docket No. 878

 

AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
OCT()BER 15, 2018, AT 10:()() A.M. BEFORE THE HON()RABLE KEVIN GROSS

 

 

THIS HEARING ILAS BEEN CANCELLED BY THE COURT
AS NO l\/IATTERS ARE SCHEDULED TO GO FOR’WARD.

 

RESOLVED MATTER:

 

l. Application By AP Services, LLC for Approval of the Contingent Success Fee (Filed:
8/30/18) [Docket No. 771]

Response Deadline: Septernber 14, 2()l8 at 4:00 p.m. (extended until October 9, 2018 at
4.'00 p.m. for the Reorganizea’ Debtors)

Resgonses Received: None as of the date of this Notice of Agenda.
Related Documents:

A. [Proposed] Order Approving Application By AP Services, LLC for Approval of the
Contingent Success Fee (Filed: 8/30/18) [Docl<et No. 771]

B. Supplement to Application By AP Services, LLC for Approval of the Contingent
Success Fee (Filed: 9/4/18) [Docket No. 784]

 

1 The Debtors in these chapter ll cases, along with the last four digits of each Debtor’s federal tax identification
number, include: VER Technologies HoldCo LLC (7239); CPV Europe lnvestments LLC (2533); FAAST Leasing
California, LLC (7857); Full Throttle Films, LLC (0487); l\/laxwell Bay Holdings LLC (3433); Revolution Display,
LLC (67 l l); VER Finco, LLC (5625); VER Technologies LLC (75()1); and VER Technologies MidCo LLC (7482).
T he location of the Debtors’ service address is: 757 West California Avenue, Building 4, Glendale, California
91203. '
2 Amended items are in bold.

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C. Certification of No Objection Regarding Docket No. 771 (Filed: 10/10/18) [Docket
No. 877]

D. [Signed] Order Approving Application By AP Services, LLC for Approval of
the Contingent Success Fee (Filed: 10/12/18) [Docket N0. 881]

Status: The Court has entered an order on this matter.

WITHDRAWN MATTERS:

2.

Motion of 50 l\/leadowland Parkway LLC for AlloWanee and Payrnent of an
Adrninistrative EXpense Clairn Pursuant to 11 U.S.C. § 503(1)) (Filed: 7/30/18) [Docket
No. 664]

Response Deadline: August 13, 2018 at 4:00 p.m.
Responses Received: None as of the date of this Notice of Agenda.
Related Documents:

A. [Proposed] Order Approving 50 Meadowland Parkway LLC for Allowance and
Payment of an Adrninistrative Expense Claim Pursuant to ll U.S.C. § 503(b)
(Filed: 7/30/18) [Docket No. 664]

B. Notice of Withdrawal of Motions Filed By 50 Meadowland Parkway LLC
[Filed: 10/12/18] (Docket No. 880).

Status: This matter has been withdrawn.

Motion of 50 Meadowland Parkway LLC for Entry of an Order Compelling the Debtors
to Vacate Rej ected Lease Premises (Filed: 8/29/18) [Doeket No. 769]

Response Deadline: September 14, 2018 at 4:00 p.m.
ReSQonses Received: None as of the date of this Notice of Agenda.
Related Documents:

A. [Proposed] Order Granting Motion of 50 Meadowland Parkway LLC for Entry of
an Order Cornpelling the Debtors to Vacate Rejected Lease Prernises (Filed:
8/29/18) [Docket No. 769]

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B. Notice of Motion of 50 l\/leadowland Parkway LLC for Entry of an Order
Compelling the Debtors to Vacate Rejected Lease Premises (Filed: 8/31/18)
[Docket No. 776]

C. Notice of Withdrawal of Motions Filed By 50 Meadowland Parkway LLC
[Filed: 10/12/18] (Docket No. 880).

Status: This matter has been Withdrawn.

Dated: October 12, 2018
Wilrnington, Delaware PACHULSKI STANG ZIEHL & JONES LLP

/s/ Laum Davz`s Jones

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